Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 1 of 11

FILED

IN THE UNITED STATES DISTRICT COURT United States District Court
Albuquerque, New Mexico
FOR THE DISTRICT OF NEW MEXICO eA
Mitchell R. Elfers
Clerk of Court

UNITED STATES OF AMERICA, )
Plaintiff,
VS. Cr. No. 20-1707 KWR
THOMAS WABNUM,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(c)(1)(C), Fed. R. Crim. P., the parties notify the Court of the following
agreement between the United States Attorney for the District of New Mexico, the Defendant,
THOMAS WABNUM, and the Defendant’s counsel, Meredith Baker and Wayne Baker:

REPRESENTATION BY COUNSEL

1. The Defendant understands the Defendant’s right to be represented by an attorney
and is so represented. The Defendant has thoroughly reviewed all aspects of this case with the
Defendant’s attorney and is fully satisfied with that attorney’s legal representation.

RIGHTS OF THE DEFENDANT

2. The Defendant further understands the Defendant’s rights:
a. to be prosecuted by indictment;
b. to plead not guilty, or having already so pleaded, to persist in that plea;
C. to have a trial by jury; and
d. at a trial:

1) to confront and cross-examine adverse witnesses,

 
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 2 of 11

3.

2) to be protected from compelled self-incrimination,
3) to testify and present evidence on the Defendant’s own behalf, and
4) to compel the attendance of witnesses for the defense.

WAIVER OF RIGHTS AND PLEA OF GUILTY

The Defendant agrees to waive these rights and to plead guilty to the information,

charging a violation of 18 U.S.C. §§ 1153, 2244(a)(2), and 2246(3) that being Abusive Sexual

Contact in Indian Country.

4.

offense is:

SENTENCING

The Defendant understands that the maximum penalty provided by law for this

a. imprisonment for a period of not more than three years;

b. a fine not to exceed the greater of $250,000 or twice the pecuniary gain to
the Defendant or pecuniary loss to the victim;

C. a term of supervised release of not less than five years and up to life. (If
the Defendant serves a term of imprisonment, is then released on supervised
release, and violates the conditions of supervised release, the Defendant’s
supervised release could be revoked — even on the last day of the term —
and the Defendant could then be returned to another period of incarceration
and a new term of supervised release.);

d. a mandatory special penalty assessment of $100.00;

e. Pursuant to the Victims of Trafficking Act, an additional mandatory special
penalty assessment of $5,000 may apply; and

f. restitution as may be ordered by the Court.

2

 
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 3 of 11

5. The parties recognize that the federal sentencing guidelines are advisory, and that
the Court is required to consider them in determining the sentence it imposes.

6. The parties are aware that the Court will decide whether to accept or reject this plea
agreement. The Court may defer its decision as to acceptance or rejection until there has been an
opportunity to consider the presentence report. Pursuant to Federal Rule of Criminal Procedure
11(c)(5), if the Court rejects this plea agreement, the defendant shall have the right to withdraw the
defendant’s plea of guilty.

7. Regardless of any other provision in this agreement, the United States reserves the
right to provide to the United States Pretrial Services and Probation Office and to the Court any
information the United States believes may be helpful to the Court, including but not limited to
information about the recommendations contained in this agreement and any relevant conduct
under U.S.S.G. § 1B1.3.

ELEMENTS OF THE OFFENSE

8. If this matter proceeded to trial, the Defendant understands that the United States
would be required to prove, beyond a reasonable doubt, the following elements for violations of
the charges listed below:

18 U.S.C. §§ 1153, 2244(a)(2), and 2246(3) that being, Abusive Sexual Contact

First: The defendant knowingly engaged in or caused sexual contact with
the victim by directly touching her genitalia;

Second: The circumstances of the sexual contact would violate 18 U.S.C.
§2242 had the sexual contact been a sexual act;

Third: This incident occurred in Indian Country, as federally defined;

Fourth: Defendant is an Indian, as federally defined.

 
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 4 of 11

DEFENDANT’S ADMISSION OF FACTS

9. By my signature on this plea agreement, I am acknowledging that I am pleading
guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and
accept responsibility for my criminal conduct. Moreover, in pleading guilty, I acknowledge that
if I chose to go to trial instead of entering this plea, the United States could prove facts sufficient to
establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,
including any facts alleged in the information that increase the statutory minimum or maximum
penalties. I specifically admit the following facts related to the charges against me, and declare
under penalty of perjury that all of these facts are true and correct: :

On the night of July 5, 2019, drove Jane Doe to a dance. On the approximately one

hour drive to the dance, Jane Doe drank alcohol. We stayed at the dance for a short

time, then went to the car and we both drank alcohol before driving home. We both

continued to drink alcohol on the drive back to Dulce, New Mexico. We both became

very intoxicated, and I touched her in a sexual manner on her genitalia without her

valid permission, as she was not able to consent in the physical and mental state she

was in at that time. This occurred near the river just west of Dulce, in Rio Arriba

County, in the District of New Mexico, within the exterior boundaries of the Jicarilla

Apache Reservation. Afterwards, I drove her back to her home. | am a member of

the Potawatomi Tribe.

10. By signing this agreement, the Defendant admits that there is a factual basis for
each element of the crime(s) to which the Defendant is pleading guilty. The Defendant agrees
that the Court may rely on any of these facts, as well as facts in the presentence report, to determine

the Defendant’s sentence, including, but not limited to, the advisory guideline offense level.

4

 
Case 1:20-cr-01707-KWR_. Document 64 Filed 10/08/21 Page 5 of 11

RECOMMENDATIONS
11. The United States and the Defendant recommend as follows:

a. The Defendant and the United States have made an AGREEMENT
pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C), that a specific
sentence of twelve months and one day imprisonment is the appropriate
disposition in this case. This agreement takes into account the Defendant’s
acceptance of responsibility, with no further reduction to occur. The
remaining components of the Defendant’s sentence, including but not
limited to any fine or restitution and the length and conditions of supervised
release, shall be imposed by the Court after the presentation of evidence
and/or argument by the parties.

b. If the Court accepts the plea agreement, it must inform the Defendant that
the agreed upon disposition will be included in the judgment, and the Court
is bound by the terms of the plea agreement once the Court accepts the plea
agreement.

DEFENDANT’S ADDITIONAL AGREEMENT
12. The Defendant understands the Defendant’s obligation to provide the United States
Pretrial Services and Probation Office with truthful, accurate, and complete information. The
Defendant represents that the Defendant has complied with and will continue to comply with this
obligation.
13. The Defendant agrees that any financial records and information provided by the
Defendant to the Probation Office, before or after sentencing, may be disclosed to the United

States Attorney’s Office for use in the collection of any unpaid financial obligation.

5

 
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 6 of 11

14. Except under circumstances where the Court, acting on its own, rejects this plea
agreement, the Defendant agrees that, upon the Defendant’s signing of this plea agreement, the
facts that the Defendant has admitted under this plea agreement as set forth above, as well as any
facts to which the Defendant admits in open court at the Defendant’s plea hearing, shall be
admissible against the Defendant under Federal Rule of Evidence 801(d)(2)(A) in any subsequent
proceeding, including a criminal trial, and the Defendant expressly waives the Defendant's rights
under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410 with regard to
the facts the Defendant admits in conjunction with this plea agreement.. The Court has not acted
on its own if its rejection of the plea agreement occurs after Defendant has expressly or implicitly
suggested to the Court a desire or willingness to withdraw his or her plea or not to be bound by the
terms of this plea agreement.

15. By signing this plea agreement, the defendant waives the right to withdraw the
defendant’s plea of guilty pursuant to Federal Rule of Criminal Procedure 11(d) unless (1) the
court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure 11(c)(5) or (2) the
defendant can show a fair and just reason as those terms are used in Rule 11(d)(2)(B) for
requesting the withdrawal. Furthermore, defendant understands that if the court rejects the plea
agreement, whether or not defendant withdraws the guilty plea, the United States is relieved of any
obligation it had under the agreement and defendant shall be subject to prosecution for any federal,
state, or local crime(s) which this agreement otherwise anticipated would be dismissed or not
prosecuted.

16. The Defendant recognizes that this plea agreement has already conferred a benefit
on the Defendant. Consequently, in return for the benefit conferred on the Defendant by entering

into this agreement, the Defendant agrees not to seek a downward departure or variance from the

6
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 7 of 11

specific sentence of twelve months and one day as agreed to by the parties pursuant to Rule

11(c)(1)(C) of the Federal rules of Criminal Procedure. Ifthe Defendant, in violation of this

paragraph, should nevertheless seek a downward departure or variance, including a departure or

variance from the guideline Criminal History Category, the United States shall have the right to

treat this plea agreement as null and void and to proceed to trial on all charges before the Court.
RESTITUTION

17. The parties agree that, as part of the Defendant’s sentence, the Court will enter an
order of restitution pursuant to the Mandatory Victim’s Restitution Act, 18 U.S.C. § 3663A.

18. No later than July 1 of each year after sentencing, until restitution is paid in full, the
Defendant shall provide the Asset Recovery Unit, United States Attorney’s Office, P.O. Box 607,
Albuquerque, New Mexico 87103, (1) a completed and signed financial statement provided to the
Defendant by the United States Attorney’s Office and/or the United States Probation Office and
(2) a copy of the Defendant’s most recent tax returns.

SEX OFFENDER REGISTRATION AND NOTIFICATION

19. The Defendant understands that by pleading guilty, the Defendant will be required
to register as a sex offender upon the Defendant's release from prison as a condition of supervised
release pursuant to 18 U.S.C. § 3583(d). The Defendant also understands that independent of
supervised release, the Defendant will be subject to federal and state sex offender registration
requirements, and that those requirements may apply throughout the Defendant's life. The
Defendant understands that the Defendant shall keep the Defendant’s registration current, shall
notify the state sex offender registration agency or agencies of any changes to the Defendant’s
name, place of residence, employment, or student status, or other relevant information within three
business days after such change. The Defendant shall comply with requirements to periodically

7
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 8 of 11

verify in person the Defendant’s sex offender registration information. The Defendant
understands that the Defendant will be subject to possible federal and state penalties for failure to
comply with any such sex offender registration requirements. Ifthe Defendant resides in New
Mexico following release from prison, the Defendant will be subject to the registration
requirements of N.MLS.A. §§ 29-11A-1 to 10 (1978), et. seq. The Defendant further understands
that, under 18 U.S.C. § 4042(c), notice will be provided to certain law enforcement agencies upon
the Defendant’s release from confinement following conviction.

20. Asacondition of supervised release, the Defendant shall initially register with the
state sex offender registration in New Mexico and shall also register with the state sex offender
registration agency in any state where the Defendant resides, is employed, works, or is a student, as
directed by the Probation Officer. The Defendant shall comply with all requirements of federal
and state sex offender registration laws, including the requirements to update the Defendant’s
registration information. The Defendant shall provide proof of registration to the Probation
Officer within 72 hours of release from imprisonment.

WAIVER OF APPEAL RIGHTS

21. The Defendant is aware that 28 U.S.C. § 1291 and 18 U.S.C. § 3742 afford a
defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the
Defendant knowingly waives the right to appeal the Defendant’s conviction(s) and any sentence,
including any fine, imposed in conformity with this Fed. R. Crim. P. 11(c)(1)(C) plea agreement,
as well as any order of restitution entered by the Court. The Defendant also waives the right to
appeal any sentence imposed below or within the Guideline range upon a revocation of supervised
release in this cause number. The Defendant also waives the right to appeal the denial of any
motion filed under 18 U.S.C. § 3582(c)(1)(A) where such denial rests in any part upon the court’s

8

 
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 9 of 11

determination that “extraordinary and compelling reasons” for a sentence reduction are lacking or
that a sentence reduction is not warranted under the factors set forth in 18 U.S.C. § 3553(a). In
addition, the Defendant agrees to waive any collateral attack to the Defendant’s conviction(s) and
any sentence, including any fine, pursuant to 28 U.S.C. §§ 2241 or 2255, or any other
extraordinary writ, except on the issue of defense counsel’s ineffective assistance.
GOVERNMENT’S ADDITIONAL AGREEMENT
22. Provided that the Defendant fulfills the Defendant’s obligations as set out above,
the United States agrees that:
a. Following sentencing, the United States will move to dismiss the charges
in the indictment.
b. The United States will not bring additional criminal charges against the
Defendant arising out of the facts forming the basis of the present
information.
23. This agreement is limited to the United States Attorney’s Office for the District of
New Mexico and does not bind any other federal, state, or local agencies or prosecuting
authorities.
VOLUNTARY PLEA
24. The Defendant agrees and represents that this plea of guilty is freely and voluntarily
made and is not the result of force, threats, or promises (other than the promises set forth in this
agreement and any addenda). The Defendant also represents that the Defendant is pleading guilty

because the Defendant is in fact guilty.
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 10 of 11

VIOLATION OF PLEA AGREEMENT

25. The Defendant agrees that if the Defendant violates any provision of this
agreement, the United States may declare this agreement null and void, and the Defendant will
thereafter be subject to prosecution for any criminal violation, including but not limited to any
crime(s) or offense(s) contained in or related to the charges in this case, as well as perjury, false
statement, obstruction of justice, and any other crime committed by the Defendant during this
prosecution.

SPECIAL ASSESSMENT

26. At the time of sentencing, the Defendant will tender to the United States District
Court, District of New Mexico, 333 Lomas Blvd. NW, Suite 270, Albuquerque, New Mexico
87102, a money order or certified check payable to the order of the United States District Court
in the amount of $100, and $5,000 if applicable, in payment of the special penalty assessment
described above.

ENTIRETY OF AGREEMENT

27. This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in writing and signed by all parties. This agreement is

effective upon signature by the Defendant and an Assistant United States Attorney.

10
Case 1:20-cr-01707-KWR Document 64 Filed 10/08/21 Page 11 of 11

AGREED TO AND SIGNED this 5th day of October, 2021.

FRED J. FEDERICI
Acting United States Attorney

De

Nicholas J. Marshall
Louis CL Mattei
Assistant United States Attorneys

Post Office Box 607
Albuquerque, New Mexico 87102
(505) 346-7274

I have carefully discussed every part of this agreement with my client. Further, I have
fully advised my client of my client’s rights, of possible defenses, of the sentencing factors set
forth in 18 U.S.C. § 3553(a), of the relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. In addition, I have explained to my client the
elements to each offense to which she/he is pleading guilty. To my knowledge, my client’s
decision to enter into this agreement is an informed and voluntary one.

alr Lb ['s Mnerede& Pa La,

Me fedith Baker
ver Baker
Attorneys for the Defendant

I have carefully discussed every part of this agreement with my attorney. I understand the
terms of this agreement, and I voluntarily agree to those terms. My attorney has advised me of my
rights, of possible defenses, of the sentencing factors set forth in 18 U.S.C. § 3553(a), of the
relevant Sentencing Guidelines provisions, and of the consequences of entering into this

agreement.

THOMAS WABNUM
Defendant

11

 
